             Case 2:21-cr-00192-RAJ Document 16 Filed 11/30/21 Page 1 of 1




 1                                                           The Honorable Richard A. Jones
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 7                        UNITED STATES DISTRICT COURT FOR THE
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                        NO. CR21-192 RAJ
11
                              Plaintiff,
12                                                     �ORDER RESCINDING··
                                                       RELEASE ORDER
13
                         v.
14
      PAUL VON NAHME,
15
                                   Defendant.
16
17          The COURT, having considered the government's motion and the facts and
18 circumstances therein, GRANTS that motion. It is HEREBY ORDERED that if the
19 government files an appeal of the release order granted in this case no later than noon on
20 December 1, 2021, the stay of that release order issued by Magistrate Judge Brian T.
21 Tsuchida shall be extended until such time as this Court resolves the government's
22 appeal.
                                      . �
23          IT IS HEREBY ORDERED this•&,
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26
27 Presented by:
   Isl Laura Harmon
28 LAURA HARMON
   Special Assistant United States Attorney
     �der Rescinding Release Order - 1                                   UNITEDSTATESATIO&�Y
     United States. v. Von Nahme, CR21-192 RAJ                          700 STEWART STREET, SL'JTE 5220
                                                                          SEATTLE, WASHINGTON98101
                                                                                (206) 553-7970
